           Case 3:19-cv-03422-SI Document 37-1 Filed 08/13/19 Page 1 of 3




 1
                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 3
 4                                               )   Case No.: 3:19-cv-03422-SI
     CASEY ROBERTS, Individually and on Behalf   )
 5   of All Others Similarly Situated,           )   [PROPOSED] ORDER APPOINTING LEAD
 6                                               )   PLAINTIFF AND APPROVING
                 Plaintiff,                      )   SELECTION OF CO-LEAD COUNSEL
 7                                               )
           v.                                    )   CLASS ACTION
 8                                               )
     ZUORA, INC., TIEN TZUO, and TYLER           )
 9
     SLOAT,                                      )
10                                               )
                 Defendants.                     )
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30                             [PROPOSED ORDER] - 3:19-cv-03422-SI

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                 Case 3:19-cv-03422-SI Document 37-1 Filed 08/13/19 Page 2 of 3




            WHEREAS, the Court has considered the competing motions for Appointment of Lead
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 2   Plaintiff and Approval of Lead Counsel,

 3          IT IS HEREBY ORDERED THAT:
 4          1.       Having reviewed all pending motions and accompanying memoranda of points and
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     authorities, the Court hereby appoints Ahtesham Ahmed, Dimitri Nekrassov, and Robert Zweben
 6
     (collectively, the “Zuora Investor Group”) as Lead Plaintiff in the above-captioned action (the
 7
 8   “Action”). The Zuora Investor Group satisfies the requirements for Lead Plaintiff pursuant to Section

 9   21D(a)(3)(B)(iii) of the Private Securities Litigation Reform Act of 1995 (“PSLRA”).
10          2.       Lead Plaintiff, pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, has selected and
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     retained Pomerantz LLP and The Rosen Law Firm P.A. as Co-Lead Counsel.
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            3.       Co-Lead Counsel shall have the following responsibilities and duties, to be carried out
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     either personally or through counsel whom Co-Lead Counsel shall designate:
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15                   (a)    to coordinate the briefing and argument of motions;

16                   (b)    to coordinate the conduct of discovery proceedings;
17                   (c)    to coordinate the examination of witnesses in depositions;
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                     (d)    to coordinate the selection of counsel to act as a spokesperson at pretrial
19                          conferences;

20                   (e)    to call meetings of the plaintiffs’ counsel as they deem necessary and appropriate
                            from time to time;
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                     (f)    to coordinate all settlement negotiations with counsel for defendants;
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23                   (g)    to coordinate and direct the pretrial discovery proceedings and the preparation for
                            trial and the trial of this matter and to delegate work responsibilities to selected
24                          counsel as may be required; and
25                   (h)    to supervise any other matters concerning the prosecution, resolution or
                            settlement of the Action.
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27          4.       No motion, request for discovery, or other pretrial proceedings shall be initiated or filed

28   by any plaintiffs without the approval of Co-Lead Counsel, so as to prevent duplicative pleadings or
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                                                  1
30                                  [PROPOSED ORDER] - 3:19-cv-03422-SI
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                  Case 3:19-cv-03422-SI Document 37-1 Filed 08/13/19 Page 3 of 3




     discovery by plaintiffs. No settlement negotiations shall be conducted without the approval of Co-Lead
 1
 2   Counsel.

 3           5.       Counsel in any related action that is consolidated with this Action shall be bound by this
 4   organization of plaintiffs’ counsel.
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             6.       Co-Lead Counsel shall have the responsibility of receiving and disseminating Court
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     orders and notices.
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 8           7.       Co-Lead Counsel shall be the contact between plaintiffs’ counsel, and shall direct and

 9   coordinate the activities of plaintiffs’ counsel.
10           8.       Defendants shall effect service of papers on plaintiffs by serving a copy of same on Co-
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     Lead Counsel by overnight mail service, electronic or hand delivery. Plaintiffs shall effect service of
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     papers on defendants by serving a copy of same on defendants’ counsel by overnight mail service,
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     electronic or hand delivery.
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15           9.       During the pendency of this litigation, or until further order of this Court, the parties

16   shall take reasonable steps to preserve all documents within their possession, custody, or control,
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     including computer-generated and stored information, and materials such as computerized data and
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     electronic mail, containing information which is relevant or which may lead to the discovery of
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     information relevant to the subject matter of the pending litigation.
20
21   SO ORDERED.

22   Dated: _______________________
             San Francisco, California
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                                                         HONORABLE SUSAN ILLSTON
25                                                       UNITED STATES DISTRICT JUDGE
                                                         NORTHERN DISTRICT OF CALIFORNIA
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30                                  [PROPOSED ORDER] - 3:19-cv-03422-SI
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